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                                                         Notice Recipients
District/Off: 0860−4                           User: admin                             Date Created: 2/18/2022
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Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Jason Galiano        6929 JFK Blvd          North Little Rock, AR 72116
ust         U.S. Trustee (ust)        Office Of U. S. Trustee        200 W Capitol, Ste. 1200            Little Rock, AR 72201
tr          Mark T. McCarty           Chapter 13 Standing Trustee          Line 1: 877−951−7471 code4545532                Line 2:
            877−692−1036 code7210329              P.O. Box 5006          N. Little Rock, AR 72119−5006
aty         Matthew David Mentgen            Mentgen Law          P.O. Box 164439             Little Rock, AR 72216
6737036     ARKANSAS OTOLARYNGOLOgy                      10201 Kanis Rd            Little Rock, AR 72205−6203
6737037     ARKANSAS PEDIATRIC CLINIC                   500 S University Ave Ste 200             Little Rock, AR 72205−5304
6737032     Access Credit Management            PO Box 250531           Little Rock, AR 72225−0531
6737033     Ally Financial        PO Box 130424          Roseville, MN 55113−0004
6737034     Alpha Recovery          6912 S Quentin St Ste 10          Centennial, CO 80112−4531
6737035     Arkansas DFA          Legal Counsel         PO Box 1272 Suite 2380              Little Rock, AR 72203−1272
6737038     At&T          c/o Bankruptcy         1801 Valley View Ln           Farmers Branch, TX 75234−8906
6737039     CENTERPOINT ENERGY                  PO Box 1700          Houston, TX 77251−1700
6737041     CREDIT ACCEPTANCE CORP                   PO Box 5070           Southfield, MI 48086−5070
6737042     CREDIT COLLECTION SERVIC                   PO Box 607           Norwood, MA 02062−0607
6737040     Conway Corporation           Billing       1307 Prairie St         Conway, AR 72034−5344
6737165     Credit Acceptance         25505 W Twelve Mile Rd             Suite 3000          Suite 3000         Southfield, MI
            48034
6737043     Credit Control        PO Box 55165          Little Rock, AR 72215−5165
6737044     Enhanced Recovery Company              8014 Bayberry Rd           Jacksonville, FL 32256−7412
6737046     FIRST PREMIER BANK                3820 N Louise Ave           Sioux Falls, SD 57107−0145
6737045     First Collection Services        PO Box 3564          Little Rock, AR 72203−3564
6737047     Fountain Blue Apartments           4401 E 46th St        North Little Rock, AR 72117−1920
6737049     GRANT & WEBER INC                 5586 S Fort Apache Rd Ste 110            Las Vegas, NV 89148−7682
6737048     Geico         1 Geico Plz        Bethesda, MD 20810−0001
6737050     Heartland Tax Services          3612 John F Kennedy Blvd # 101             North Little Rock, AR 72116−8842
6737051     Internal Revenue Service (V1−25−18)            Centralized Insolvency Operation             PO Box 7346         Philadelphia,
            PA 19101−7346
6737053     LITTLE ROCK PEDIATRIC CLINI                  500 S University Ave            Little Rock, AR 72205−5302
6737054     MID SOUTH ADJUSTMENT C                   316 W 6th Ave           Pine Bluff, AR 71601−4217
6737055     Midsouth Adj         316 W 6th Ave Ste A           Pine Bluff, AR 71601−4217
6737056     N Little Rock Emergency Doctors Group             11001 Executive Center Dr Ste 200              Little Rock, AR
            72211−4393
6737057     NLR Pediatric Dental Group           4605 Fairway Ave           North Little Rock, AR 72116−8052
6737058     Simmons Bank           PO Box 3564          Little Rock, AR 72203−3564
6737059     T−Mobile USA           by American InfoSource as agent            4515 N Santa Fe Ave             Oklahoma City, OK
            73118−7901
6737062     TIMOTHY R COOK MD                  4509 E McCain Blvd           North Little Rock, AR 72117−2902
6737061     Thrive Argenta         211 E 4th St        North Little Rock, AR 72114−5401
6737063     VERIZON WIRELESS − SOUTH                   PO Box 26055            Minneapolis, MN 55426−0055
6737064     Westrock Orthodontics          4901 Warden Rd           North Little Rock, AR 72116−7013
6737060     the bridgeway hospital         21 Bridgeway Rd          North Little Rock, AR 72113−9514
                                                                                                                            TOTAL: 37
